           Case 2:18-cr-00579-GJP Document 437 Filed 02/28/22 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                              :               CRIMINAL ACTION
                 v.                           :
                                              :               No. 18-579-2
ARTHUR ROWLAND
USM# 76947-066
FDC PHILADELPHIA

                                    NOTICE OF HEARING

        Take notice that the defendant is scheduled for a Jury Trial on April 21, 2022 at
9:30 a.m. before the Honorable Gerald J. Pappert in Courtroom 11-A of the United States
District Court, 601 Market Street, Philadelphia, PA 19106.

☒ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☐ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as directed, the presiding judge may issue a bench warrant.

☐ Interpreter:


For additional information, please contact the undersigned.

By:              Jeffrey Lucini
                 Courtroom Deputy to Judge Pappert

Date:            2/28/22

cc via U.S. Mail:       Defendant
cc via email:           Defense Counsel R. Fuschino
                        Assistant U.S. Attorney P. Shapiro, T. Stengel
                        U.S. Marshal
                        Court Security
                        Probation Office
                        Pretrial Services
                        Interpreter Coordinator


crnotice (July 2021)
